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UNITED STATES DISTRICT COURT                        USDC SDNY
SOUTHERN DISTRICT OF NEW YORK                       DOCUMENT
                                                    ELECTRONICALLY FILED
MATTHEW ELLISON, Individually and On                DOC #:
Behalf of All Others Similarly Situated,            DATE FILED: 10/19/2020

                          Plaintiff,

             v.

TUFIN SOFTWARE TECHNOLOGIES LTD.,
REUVEN KITOV, JACK WAKILEH, REUVEN
HARRISON, OHAD FINKELSTEIN, EDOUARD Case No.: 1:20-cv-05646-GHW
CUKIERMAN, YAIR SHAMIR, RONNI
ZEHAVI, YUVAL SHACHAR, J.P. MORGAN
SECURITIES LLC, BARCLAYS CAPITAL       Hon. Gregory H. Woods
INC., JEFFERIES LLC, OPPENHEIMER & CO.
INC., ROBERT W. BAIRD & CO.
INCORPORATED, PIPER JAFFRAY & CO.,
STIFEL, NICOLAUS & COMPANY,
INCORPORATED, WILLIAM BLAIR &
COMPANY, L.L.C., and D.A. DAVIDSON &
CO,

                          Defendants.

DAVID MICHAELSON, Individually and On
Behalf of All Others Similarly Situated,

                          Plaintiff,

             v.                            Case No.: 1:20-cv-06290-GHW

TUFIN SOFTWARE TECHNOLOGIES LTD.,
REUVEN KITOV, JACK WAKILEH, REUVEN  Hon. Gregory H. Woods
HARRISON, OHAD FINKELSTEIN, EDOUARD
CUKIERMAN, YAIR SHAMIR, RONNI
ZEHAVI, and YUVAL SHACHAR,

                          Defendants.


 ORDER GRANTING MOTION OF MARK HENRY FOR CONSOLIDATION OF THE
     ACTIONS, APPOINTMENT AS LEAD PLAINTIFF, AND APPROVAL OF
                      SELECTION OF COUNSEL
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       Having considered the papers filed in support of the motion of class member movant

Mark Henry (“Movant”) for Consolidation of the Actions, Appointment as Lead Plaintiff, and

Approval of Selection of Counsel pursuant to the Private Securities Litigation Reform Act of

1995 (the “PSLRA”), 15 U.S.C. § 77z-1(a)(3)(B), and for good cause shown, the Court hereby

enters the following Order:

                       CONSOLIDATION OF RELATED ACTIONS

       1.     The above-captioned securities fraud class actions (the “Actions”) pending in this

Judicial District are hereby consolidated for all purposes pursuant to Rule 42(a) of the Federal

Rules of Civil Procedure under Case No. 1:20- cv-05646-GHW (the “Consolidated Action”).

       2.     A Master File is hereby established for the consolidated proceedings in the

Consolidated Action. The docket number for the Master File shall be Master File No. 1:20-cv-

05646-GHW.

       3.     Every pleading filed in the Consolidated Action shall bear the following caption:

 IN RE TUFIN SOFTWARE                              Master File No. 1:20-cv-05646-GHW
 TECHNOLOGIES LTD. SECURITIES
 LITIGATION

             APPOINTMENT AS LEAD PLAINTIFF AND LEAD COUNSEL

       4.     Movant has moved this Court to be appointed as Lead Plaintiff in the Actions and

to approve the counsel he has retained to be Lead Counsel.

       5.     Having considered the provisions of the PSLRA, codified at Section 27 of the

Securities Act of 1933, 15 U.S.C. § 77z-1(a)(3)(B), the Court hereby determines that Movant is




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the most adequate lead plaintiff and satisfies the requirements of the PSLRA. The Court hereby

appoints Movant as Lead Plaintiff to represent the interests of the Class.

       6.      Pursuant to Section 15 U.S.C. § 77z-1(a)(3)(B)(v), Movant has selected and

retained the law firm of Levi & Korsinsky, LLP to serve as Lead Counsel. The Court approves

Movant’s selection of Lead Counsel for the Consolidated Action.

       7.      Lead Counsel shall have the following responsibilities and duties, to be carried

out either personally or through counsel whom Lead Counsel shall designate:

            a. to coordinate the briefing and argument of any and all motions;

            b. to coordinate the conduct of any and all discovery proceedings;

            c. to coordinate the examination of any and all witnesses in depositions;

            d. to coordinate the selection of counsel to act as spokesperson(s) at all pretrial
               conferences;

            e. to call meetings of the plaintiffs’ counsel as they deem necessary and appropriate

               from time to time;

            f. to coordinate all settlement negotiations with counsel for Defendants;

            g. to coordinate and direct pretrial discovery proceedings, preparation for trial, and

               trial of this matter and delegate work responsibilities to selected counsel as may

               be required;

            h. to coordinate the preparation and filings of all pleadings; and

            i. to supervise all other matters concerning the prosecution or resolution of the

               claims asserted in the Consolidated Action.

       8.      No motion, discovery request, or other pretrial proceedings shall be initiated or

filed by any plaintiffs without the approval of Lead Counsel, without the Court’s consent, so as

to prevent duplicative pleadings or discovery by plaintiffs. No settlement negotiations shall be

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conducted without the approval of Lead Counsel, without the Court’s consent.

       9.      Service upon any plaintiff of all pleadings, motions, or other papers in the

Consolidated Action, except those specifically addressed to a plaintiff other than Lead Plaintiff,

shall be completed upon service of Lead Counsel.

       10.     Lead Counsel shall be the contact between plaintiffs and plaintiffs’ counsel and

Defendants’ counsel, as well as the spokespersons for all plaintiffs’ counsel, and shall direct and

coordinate the activities of plaintiffs’ counsel. Lead Counsel shall be the contact between the

Court and plaintiffs and their counsel.

       11.     During the pendency of this litigation, or until further order of this Court, the

parties shall take reasonable steps to preserve all documents within their possession, custody, or

control, including computer-generated and stored information and materials such as

computerized data and electronic mail, containing information that is relevant to or may lead to

the discovery of information relevant to the subject matter of the pending litigation.

       12.     Lead Counsel is directed to serve a copy of this order on each of the defendants

and to counsel of record in each of the above-captioned actions.

       13.     The Clerk of Court is directed to conform the caption of this case to the caption

described in Paragraph 3 of this order. The Clerk of Court is further directed to terminate the

motions pending at Dkt. Nos. 24, 28, and 31 in Case No. 1:20-cv-05646-GHW and Dkt. No. 9 in

Case No. 1:20-cv-06290-GHW.

       IT IS SO ORDERED.

Dated: October 19, 2020
New York, New York
                                      THE HONORABLE GREGORY H. WOODS
                                      UNITED STATES DISTRICT JUDGE



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